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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

In re:

Michael O Flowers,                                           Case No. 22-10808-JDL
Marinda L Flowers,                                           Chapter 13

                                     Debtors.


Limited Objection to Amended Motion for Order Lifting the Automatic Stay with Brief
               in Support, Certificate of Service, and Notice of Hearing
John Hardeman, Trustee, objects to Bonda, LLC being granted relief from the automatic stay
and requests that Bonda, LLC’s relief be limited to determining liability and damages.

Bonda, LLC asserts a claim against the Debtors for $18,250.00 in addition to claims for

fraud, breach of fiduciary duty, and punitive damages. The Trustee does not have a position

on which court should determine the validity and the amount of Debtors’ liability to Bonda.

However, the Trustee opposes Bonda, LLC being allowed to collect its claim outside of the

plan.

       Bonda, LLC’s claim is a prepetition claim and Bonda will be bound by the confirmed

plan as are all the other creditors in this case.1 In addition, due to the all-encompassing nature

of the bankruptcy estate there is little practical ability for Bonda to collect a judgment
without collecting from the assets of the bankruptcy estate.2 The only basis for Bonda’s

motion for relief is that it wants to continue litigation in state court where it has already

begun. Had Bonda already obtained a judgment in its state court action, Bonda would not

have any grounds or need to seek relief from the automatic stay. The Trustee sees no reason

the Court should permit Bonda to collect on its prepetition claim outside of the plan where it

could potentially collect more than the other general unsecured creditors.



1
    11 U.S.C. § 1327
2
    See 11 U.S.C. §§ 541 & 1306
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     While Bonda’s allegations against the Debtors are serious, Bonda’s claim is a general-
unsecured claim. Even if Bonda prevails on its adversary proceeding and its claim is

determined to be nondischargeable, nondischargeability alone is not grounds to treat Bonda

differently than the other general-unsecured creditors.3 And Bonda would not be harmed by
its claim being paid through the plan. If its claim is determined to be nondischargeable and

not paid in full through the plan, Bonda will still be permitted to collect any amount still

owed on its judgment after the plan is completed and the Flowers’ other creditors discharged.

     Granting Bonda, LLC permission to litigate and pursue the Debtors outside of the

bankruptcy will create the risk of future issues between the Trustee and Bonda. The

Bankruptcy Code attempts to treat similarly situated creditors equally. Bonda should not be
permitted to circumvent 11 U.S.C. § 1322(b)(1) by collecting its claim outside the plan. The

Trustee does not have a position on which court should determine Mr. & Ms. Flowers

liability to Bonda, LLC. However, the Trustee requests that, if the Court grants Bonda relief
from the automatic stay, the Court limit Bonda’s relief to determining liability and damages

only.

                                                                      Respectfully,
                                                                      s/David S. Burge
                                                                      David S. Burge, OBA # 31505
                                                                      321 Dean A. McGee
                                                                      P.O. Box 1948
                                                                      Oklahoma City, OK 73101-1948
                                                                      13trustee@chp13okc.com
                                                                      (405) 236-4843
                                                                      (405) 236-1004 (fax)
                                                                      Attorney for Trustee




3
 In re Taylor, 137 B.R. 60, 61 (Bankr. W.D. Okla. 1992) (The nondischargeable nature of student loans was not
sufficiently cause to discriminate against other general-unsecured creditors.)
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                                    Certificate of Service

This is to certify that on June 13, 2022, a true and correct copy of the foregoing instrument
was served by U.S. Mail, postage prepaid, on the following:

Michael O Flowers
Marinda L Flowers
15228 Claremont Blvd
Edmond, OK 73013

                                                           s/David S. Burge
                                                           David S. Burge, OBA # 31505

                                      Notice of Hearing
Notice is hereby given that a hearing on the Amended Motion for Relief from Stay [Doc. 25]
will be held before the Honorable Janice Loyd on June 28, 2022, at 2:00 p.m. in the second-
floor courtroom of the United States Bankruptcy Court for the Western District of Oklahoma,
215 Dean A. McGee Avenue, Oklahoma City, OK 73102.
